                              UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION

    IN THE MATTER OF:                                  Case No.: 18-44828-TJT
                                                       Chapter 13
           Joan Renee’ Patrick-Morris                  Honorable Thomas J. Tucker

           Debtor.

    JOSEPH L. GRIMA (P 44756)
    Attorney for Debtor
    18232 Mack Ave.
    Grosse Pointe Farms, MI 48236
    (313) 417-8422

                            OBJECTION TO PROOF OF CLAIM OF
               MICHIGAN DEPARTMENT OF TREASURY (PACER CLAIMS REGISTER #6)


           NOW COMES Debtor, Joan Renee’ Patrick-Morris, by and through Counsel, Joseph L.

    Grima & Associates, P.C., and objects to the Proof of Claim of Michigan Department of Treasury

    (PACER Claims Register #6) as follows:



           1.        On April 3, 2018, the Debtor filed a Petition under Chapter 7 of Title 11, United

                     States Bankruptcy Code. An Order Converting Case to Chapter 13 was entered

                     on July 18, 2018. An Order Confirming Plan was entered on October 3, 2018.



           2.        On April 29, 2020, Michigan Department of Treasury filed a Proof of Claim

                     (PACER Claims Register #6) in the total amount of $2,701.01 for a 2015 income

                     tax liability.



           3.        On February 10, 2010, Michigan Department of Treasury had sent a

                     communication to Debtor indicating that due to a correction, Debtor had a tax

                     liability of $0 as of February 19, 2020.   (See attached Exhibit 2 - Michigan

                     Department of Treasury Corrected Bill for Taxes Due).




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           4.     Debtor has a liability of $0.00 to the Michigan Department of Treasury for the year

                  2015.



           WHEREFORE, Debtor respectfully requests that this Honorable Court disallow the Proof

    of Claim filed by Michigan Department of Treasury (PACER Claims Register #6).


                                                     Respectfully submitted,



     DATED: May 7, 2020                              /s/ Joseph L. Grima
                                                     JOSEPH L. GRIMA (P 44756)
     sws                                             Attorney for Debtor
                                                     18232 Mack Ave.
                                                     Grosse Pointe Farms, MI 48236
                                                     (313) 417-8422
                                                     grimalaw@gmail.com




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